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                   EXHIBIT F
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



        DECLARATION OF ELIZABETH SINES IN SUPPORT OF PLAINTIFFS’
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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         I, Elizabeth Sines, declare as follows:

         1.      I am the named Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-

 cv-00072-NKM.

         2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

         3.      The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.      I am currently a resident of Baltimore, Maryland. I moved there after spending

 several years in Charlottesville where I was a law student and active member of the local

 community.

         5.       On August 11 and August 12, 2017, while a student at the University of Virginia

 Law School, I chose to go out to observe what was happening to my community. I was horrified

 by what I saw and what was happening to the place I called home. I was nearly struck in the car

 attack on Fourth Street, not far from where I lived and studied.

         6.      Having a trial in Charlottesville is important to me because it is the place where

 I saw my community overrun. I strongly believe that a trial involving events that greatly affected

 that community should occur in Charlottesville. It is the place where I was nearly killed, and it

 is important to me that the story of what happened in August 2017 be told to representatives of

 the very community that was traumatized that weekend.

         7.      I have already arranged with my employer to take some time off from work to be

 available for the trial in Charlottesville. I have friends in Charlottesville who were planning on

 serving as my support system during the trial. I have never lived or spent time in in Roanoke or
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 Lynchburg, Virginia. Reliving those terrifying days from 2017 at trial will be difficult enough

 — relocating to a place I’ve never been before to tell my story will only increase my stress,

 particularly without the benefit of the emotional support I was counting on in Charlottesville.

        8.      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on June 10, 2021 in Baltimore, Maryland.




                                      ____________________________
                                      Elizabeth Sines




                                                 3
